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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


ARIELLA MAHONEY,

                         Plaintiff,

v.                                                      Case No. 18-2585-JAR

KC WATERPARK MANAGEMENT, LLC, et al.,

                         Defendants.


                       SECOND AMENDED SCHEDULING ORDER

        The parties have filed a joint motion (ECF No. 44) to amend the scheduling order

filed on December 17, 2018 (ECF No. 13). For good cause shown, the motion is granted

and the scheduling order is amended as follows:

        a.      Motions to amend or join additional parties are due by August 30, 2019.

        b.      All discovery shall be commenced or served in time to be completed by

November 29, 2019.

        c.      Disclosures required by Fed. R. Civ. P. 26(a)(2), including reports from

retained experts, are due from defendant by October 31, 2019. Disclosures and reports

by any rebuttal experts are due by November 30, 2019.

        d       The final pretrial conference is rescheduled from August 15, 2019, to

January 16, 2020 at 9:00 a.m., in the U.S. Courthouse, Room 223, 500 State Avenue,

Kansas City, Kansas. Unless otherwise notified, the undersigned magistrate judge will


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conduct the conference. No later than December 27, 2019, defendant shall submit the

parties= proposed pretrial order as an attachment to an e-mail directed to

ksd_ohara_chambers@ksd.uscourts.gov. It shall be in the form available on the court=s

website (www.ksd.uscourts.gov), and the parties shall affix their signatures according to

the procedures governing multiple signatures set forth in paragraphs II(C)(2)(a) & (b) of

the Administrative Procedures for Filing, Signing, and Verifying Pleadings and Papers by

Electronic Means in Civil Cases.

        e.      The deadline for filing all other potentially dispositive motions is January

31, 2020.

        f.      The deadline for motions challenging admissibility of expert testimony is

January 31, 2020.

        g.      With the approval of the presiding U.S. district judge, the case is re-set for

trial on a trial calendar that will begin on September 29, 2020, at 9:00 a.m.

        All other provisions of the original and amended scheduling order shall remain in

effect. The schedule adopted in this second amended scheduling order shall not be

modified except by leave of court upon a showing of good cause.

        IT IS SO ORDERED.

        Dated August 1, 2019, at Kansas City, Kansas.


                                              s/ James P. O=Hara
                                            James P. O=Hara
                                            U.S. Magistrate Judge


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